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J3 44CiSBNY
REV. 06/017

CHIL COVER SHEET

The J8-44 civil cover sheet and the information contained herein neither replace ner supplement the filing and service of pleadings or
other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference af the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.

PLAINTIFFS
Henry Acker et al

DEFENDANTS
KINGDOM OF SAUDI ARABIA; SAUDI HIGH COMMISSION FOR RELIEF
OF BOSNIA & HERZEGOVINA ,

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER
Gregory J Cannata & Associates, LLP and The Jacob D, Fuchsberg Law
Firm, 60 East 42 Street, Suite 932 New York, NY 10165, 212-553-9205

ATTORNEYS (IF KNOWN)

Michael K. Kellogg, Esq. Kellogg, Hansen, Todd, Figel & Frederick,P.L.L.c.
1615 M Street N.W. Suite 400, Washington, DC 20036-3215
202-326-7900

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSB
(00 NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY}

28 U.S. C. § 1605(a)(5) and 1805B; 18 U.S.C. § 1391(b\(2), 1391(f\(1), 2333, 2333(a), 2333/d),2334(a} and 1962(a)-(d)

Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time’? No MlyvesT]

If yes, was this case Vol.{_| Invol. -] Dismissed. No [x] Yes [| If yes, give date & Case No.
15 THIS AN INTERNATIONAL ARBITRATION CASE? No [x] Yes [|
(PLACE AN [x] IN ONE BOX ONLY} NATURE OF SUIT
TORTS ACTIONS UNDER STATUTES
CONTRACT PERSONAL INJURY PERSONAL INJURY FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
[ 1387 HEALTHCARE! 75 FALSE CLAIMS
[1170 INSURANCE [ ] 310 AIRPLANE PHARMACELTICAL PERSONAL | +975 DRUG RELATED [ ]422 APPEAL [18
[ ] 120 MARINE [ 1315 AIRPLANE PRODUCT = INJURY/PRODUCT LIABILITY cay OF PROPERTY 28 USC 158 [ ] 876 QUI TAM
[]130 = MILLER Ac LIABILITY [ ] 365 PERSONAL INJURY 4 USC ABH | ] 423 WITHDRAWAL [ ]400 STATE
[]140 NEGOTIABLE | 1320 ASSAULT, LIBEL & PRODUCT LIABILITY 1s geq OTHER 28 USC 157 REAPPORTIONMENT
INSTRUMENT SLANDER [ } 368 ASBESTOS PERSONAL [ ]410 ANTITRUST
[]150 RECOVERYOF — [ ]330 FEDERAL INJURY PRODUCT [ 1430 BANKS & BANKING
OVERPAYMENT & EMPLOYERS' LIABILITY PROPERTY RIGHTS [ 1453 COMMERCE
ENFORCEMENT LIABILITY [ ]469 GEPORTATION
OF JUDGMENT —_[ 1340 MARINE PERSONAL PROPERTY | 1820 COPYRIGHTS [ ]470 RACKETEER INFLU-
[ ) 151 MEDICARE ACT —[ 1345 MARINE PRODUCT | }830 PATENT ENGED & CORRUPT
[]152 RECOVERY OF LIABILITY [ 1370 OTHER FRAUD ORGANIZATION ACT
DEFAULTED | 1350 MOTOR VEHICLE [1371 TRUTH INLENDING —«(.:1 888 PATENT-ABBREVIATED NEW DRUG APPLICATION (RICO)
STUDENT LOANS -[ [355 MOTOR VEHICLE [ | 846 TRADEMARK [ ]480 CONSUMER CREDIT
(EXCL VETERANS) PRODUCT LIABILITY SOCIAL SECURITY [ ]490 CABLE/SATELLITE TV
[1183 RECOVERY OF — [x] 360 OTHER PERSONAL
OVERPAYMENT INJURY | ]380 OTHER PERSONAL = LABOR | 1861 HIA (139597) [ ] 850 SECURITIES/
OF VETERAN'S (| }.362 PERSONAL INJURY - PROPERTY DAMAGE { 1862 BLACK LUNG (923) COMMODITIES!
BENEFITS MED MALPRACTICE [| }386 PROPERTY DAMAGE [ ]716 FAIR LABOR T ] 863 DIWCIDIWW (495(g}) EXCHANGE
{1460 STOCKHOLDERS PRODUCT LIABILITY STANDARDS ACT —{ ]a64 SSID TITLE XVI
SUITS [ ] 720 LABOR/MGMT [ ]865 RSI (405(q))

[1790 OTHER PRISONER PETITIONS RELATIONS [ 1880 OTHER STATUTORY
CONTRACT [ ] 483 ALIEN DETAINEE [ 1740 RAILWAY LABOR ACT ACTIONS

[]185 CONTRACT { 1510 MOTIONS TO [] 751 FAMILY MEDICAL FEDERAL TAX SUITS | }881 AGRICULTURAL ACTS
PRODUCT ACTIONS UNDER STATUTES VACATE SENTENCE FaVE ACT (FMLA)
LIABILITY 28 USC 2266 [ ] 870 TAXES (U.S, Plaintiff or

[ 1186 FRANCHISE CIVIL RIGHTS [ 1836 HABEAS CORPUS [ ]790 OTHER LABOR Defendant) [ 893 ENVIRONMENTAL
[ 1538 DEATH PENALTY LITIGATION [1874 IRS-THIRD PARTY MATTERS
wichts []840 MANDAMUS & OTHER [ ] 791 EMPL RET INC 26 USC 7609 | 1895 FREEDOM OF
[] 440 (on Prsonen) HTS SECURITY ACT (ERISA) INFORMATION ACT
REAL PROPERTY [ | 896 ARBITRATION
[ 1444 VOTING IMMIGRATION

[ ] 899 ADMINISTRATIVE

210 LAND [ ] 442 EMPLOYMENT PRISONER CIVIL RIGHTS

i CONDEMNATION — [ ] 444 HOUSING/ 1 1462 NATURALIZATION PROCEDURE ACT/REVIEW OR
[ }220 FORECLOSURE £3445 eA [ ] 550 CIVIL RIGHTS APPLICATION APPEAL OF AGENCY DECISION
[ ]230 RENT LEASE & []555PRISON CONDITION —_[_] 485 OTHER IMMIGRATICN

EJECTMENT DISABILITIES - [ ] 560 CIVIL DETAINEE ACTIONS [len SoM TUTIONALITY OF
[ ]240 TORTS TG LAND EMPLOYMENT CONDITIONS OF CONFINEMENT
£1245 TORT PRODUCT [1446 AMERICANS WITH

LIABILITY DISABILITIES -OTHER

[ ] 280 ALL OTHER [ ] 448 EDUCATION

REAL PROPERTY

Check if demanded In complaint:
DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.NLY.
AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?

[ CHECK IF THiS IS ACLASS ACTION
IF SO, STATE:

UNDER F.R.C.P, 23

JupGE George Daniels/Sarah Netburn pockET NUMBERO3 MDL 1570

DEMAND $ OTHER

Gheck YES only if demanded in complaint

JURY DEMAND: El yes CNO NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form 1H-32).

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(PLACE AN x IN ONE BOX ONLY) ORIGIN
1 Original | ]2 Removed trom []3 Remanded [_]4Reinstated or  [_] 5 Transferred from []6 Ligation Li? cen
Proceeding State Court fom Reopened (Speclfy District) (Transferred) Magistrate Judge

[] a. all parties represented Court

(18 Multidistrict Litigation (Direct File)
[| b. Atleast one party

is pro se,
(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION IF DIVERSITY, INDICATE
[11 U.S. PLAINTIFF [12 U.S.DEFENDANT [_] 3 FEDERAL QUESTION [x]4 DIVERSITY CITIZENSHIP BELOW.

(U.S. NOT A PARTY)

CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF

CITIZEN OF THIS STATE Iy1 [11 CITIZEN OR SUBJECT OF A 113143 INCORPORATED and PRINCIPALPLACE []5 []5
FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE []2 []2 INCORPORATED or PRINCIPAL PLACE []4[ ]4 FOREIGN NATION (]6 []6

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)

KINGDOM OF SAUDI ARABIA c/o Michael K. Kellogg, Esq. Kellogg, Hansen, Todd, Figel & Frederick,
P.L.L.C.1615 M Street N.W. Suite 400, Washington, DC 20036-3215; SAUDI HIGH COMMISSION FOR
RELIEF OF BOSNIA & HERZEGOVINA c/o Roy Englert, Jr., §bbbins, Russell; Englert, Orseck,
Untereiner & Sauber, LLP 1801 K Street N.W. Suite 411L, Washington, DC 20006

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

COURTHOUSE ASSIGNMENT

| hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.
DO NOT check either box if this is a PRISONER PETITION/PRISONER CIVIL RIGHTS COMPLAINT.

Check one: THIS ACTION SHOULD BR’ ASSIGNED TO: [] WHITE PLAINS MANHATTAN

y' Af ¢ -
t/ /- <7 —a MUG JEG E
DATE ¢) /1 Is SIGNATURE OF ATTORNEY OF RECORD os TO PRACTICE IN THIS DISTRICT
ye [I YES (DATE ADMITTED Mo.12 yr. 1976)
RECEIPT # Attorney Bar Code #RG1890
Magistrate Judge is to be designated by the Clerk of the Court.
Magistrate Judge is so Designated.

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
